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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF MISSOURI
                                    WESTERN DIVISION
In Re:     INTERSTATE UNDERGROUND                         ) Case No. 21-40834-DRD-11
           WAREHOUSE AND INDUSTRIAL                       )
           PARK, INC.                                     ) Chapter 11
                        Debtor                            )

     OBJECTION BY CREDITOR WAYNE REEDER TO DEBTOR’S SECOND AMENDED
                    DISCLOSURE STATEMENT (DOCKET #424).

         COMES NOW Class 13 Creditor, Wayne Reeder (“Reeder”), by and through counsel, and
hereby objects to the Debtor’s Second Amended Disclosure Statement (Doc. #424). Reeder’s Objection
to Confirmation of the Third Amended Plan will be filed as a separate pleading. For his objection,
Reeder states as follows:


A.       The Disclosure Statement Does Not Comply With 11 U.S.C. §1125 Because It Fails to Provide
Information About The True Amounts The Reeder Family Receives From the Reorganized Debtor


         Section X discloses compensation for Debtor’s counsel and the salaries of Leslie Reeder (the
CEO), Sammy Jo Reeder (the sole shareholder), and Stacy Reeder Robinson (advisor). For reasons
unknown, the Section fails to disclose that in addition to her stated salary, Leslie Reeder receives $8,000
per month from the Debtor as a housing allowance. Unsecured creditors, who are expected to accept a
pro rata share of $250,000 over the life of the plan, would and should need to know that the Reeder
family would receive over $1 million during the Plan.


B.       The Liquidation Analysis (Exhibit C, Document 424-3) Is Inadequate and Insufficient


         The document is insufficient to provide the necessary disclosure to creditors because the Debtor
represents that income tax returns have been filed for the fiscal year ending May 31, 2021. However,
when said returns were requested, Debtors’ counsel refused to provide them to Reeder on the grounds
that Reeder’s claim is disputed (and that Reeder might not show to his Rule 2004 Examination(s), which
he ultimately did.)




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       Those returns contain the book value for determining tax liability whether incurred on a sale of
part or all of the Debtor’s property or a liquidation of the property. Further, the valuation of the Debtor’s
property should take into account information about value placed on the property by third parties (by
offer or otherwise) if no formal appraisals are available.


        In this case, a Response to Plan has been filed by a third party offering $4.75 million for the
purchase of all of Debtors assets, except cash on hand. With respect to a liquation analysis, such offers
are significant because they provide transparency to the amount the current equity holder(s) capture as
compared to payments to creditors.


C.     There is No Discussion of Any Recovery for Preferential and/or Fraudulent Conveyance
Payments


       There is also no mention of how failing to seek recovery of such payments is in the best interest
of the estate and creditors.


D.     The Treatment of a Right to First Refusal Contained Within a Lease is Ambiguous


       In approximately February or March of 2019, Interstate leased space in its facility to Kansas City
Cold Storage. The lease contained an Exhibit 3 – Miscellaneous, which included provision #3, listed as
follows:


3. Tenant shall have a First Right of Refusal (“ROFR”) to purchase IUW (the entire IUW surface real
estate property of approximately 152 acres and underground cave area under the same terms and
conditions offered by a third-party buyer). Tenant shall have 60 days to exercise the ROFR after written
notice from Landlord and delivery of a copy of the offer from the third-party buyer match purchase
price, terms and conditions from third party buyer.


       Since this provision is not discussed, it has not been made clear how assumption of the lease and
its incorporated terms affect the creditors.




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E.     The Refrigeration Issues are Far More Serious Than Discussed, and Critical Details are Omitted.


       Section V of the Disclosure Statement discusses the critical status of the Freezer System.
Whether freon is now being used less than in previous years is not the key issue, however. The entire
system has been in need of an overhaul, with bids being submitted in 2019 (to Wayne Reeder) and 2020
(to Leslie Reeder).


       However, with post-COVID supply chain shortages, labor issues, and the expiration of the last
quote, it is unknown how much a new system would run. The compressor referenced was purchased
post-petition (from a contribution from Sammy Jo Reeder, for which she seeks a credit towards
maintaining 100% equity in the business). However, that compressor was not “new”, it was a used part
with many hours on it.


       Unless the Debtor has its possession a different quote, the amount quoted in the 2020 bid by
Custom Refrigeration Solutions is $3,400,142, exclusive f a slew of other items, including tax, and
electrical work (an additional $1,091.631). Under that bid, even if it was honored today with no
amendments or inflation, the costs would exceed $4.4 million with a minimum down payment of
$436,652 (for the electrical work) and $1,360,056.80 for the main system, for a total of nearly $1.8
million.


       Even if the Debtor’s own projections are accurate, and Woodmen and Andersons are paid off in
2026, the Debtor still wouldn’t have even half of what it needs for a down payment. There are separate
feasibility issues to address in an Objection to Confirmation of the Third Amended Plan, but the Court
need not reach feasibility to see how the Debtor’s description of the system providing the bulk of the
Debtor’s income is inaccurate and misleading to creditors.


       WHEREFORE, Reeder respectfully requests this court enter an order Denying approval of the
Debtor’s Second Amended Disclosure Statement, and for any further relief deemed appropriate by this
Honorable Court.




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       Dated: June 13, 2022                  Respectfully submitted,
                                             WM Law

                                             s/ Ryan A. Blay
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                                             COUNSEL FOR CREDITOR WAYNE REEDER

                                    CERTIFICATE OF SERVICE

        I hereby certify that on June 13, 2022, the foregoing Objection was served upon all parties
receiving electronic notification or by first-class mail, postage prepaid.

                                                     s/ Ryan A. Blay




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